                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

UNITED STATES OF AMERICA,                        )
                                                 )
                                                 )
         v.                                      )
                                                 )
PAULA KAY BULLOCK,                               )        Case No. 1:17CR460-1
                                                 )
                     Defendant,                  )
                                                 )
         and                                     )
                                                 )
CHARLES SCHWAB AND CO., INC.,                    )
                                                 )
                     Garnishee.                  )

        MOTION TO QUASH WRIT OF CONTINUING GARNISHMENT

       COMES NOW the United States of America, by and through its Attorney, Matthew

G.T. Martin, United States Attorney for the Middle District of North Carolina, and Joan B.

Childs, Assistant United States Attorney, and moves this court to quash the Writ of

Continuing Garnishment filed herein on December 20, 2019 pursuant to 28 U.S.C. §

3205(c)(10)(A). In support of this motion, it is shown:

       (1) That on August 1, 2019, a judgment in the amount of $32,847.63 was entered in

the United States District Court for the Middle District of North Carolina, in favor of the

United States of America, and against the Defendant, Paula Kay Bullock, whose last known

address is FCI Coleman Low, P.O. Box 1021, Coleman, FL 33521-1029.

       (2) That on December 4, 2019, the United States of America applied for a Writ of

Continuing Garnishment against the Defendant, Paula Kay Bullock, with Charles Schwab




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and Co., Inc., as Garnishee. On December 20, 2019, the court granted the Writ of

Continuing Garnishment.

      (3) That the United States has been informed by the Garnishee, Charles Schwab

and Co., Inc., that the account closed on February 7, 2019, and contains a remaining

balance of $85.53.

      WHEREFORE, the United States respectfully prays the court that it enter an order

quashing the Writ of Continuing Garnishment pursuant to 28 U.S.C. § 3205 (c)(10)(A),

thereby terminating this garnishment; and for such other relief that the court deems just

and proper.

      A proposed order is attached.

      This the 9 January 2020.


                                                Respectfully submitted,

                                                MATTHEW G.T. MARTIN
                                                United States Attorney

                                                /s/ Joan B. Childs
                                                Assistant United States Attorney
                                                NCSB# 18100
                                                United States Attorney’s Office
                                                Middle District of North Carolina
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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

UNITED STATES OF AMERICA,                     )
                                              )
         v.                                   )
                                              )
PAULA KAY BULLOCK,                            )     Case No. 1:17CR460-1
             Defendant,                       )
                                              )
         and                                  )
                                              )
CHARLES SCHWAB AND CO., INC.,                 )
            Garnishee.                        )     Certificate of Service

       I hereby certify that on January 9, 2020, the foregoing Motion to Quash Writ of
Continuing Garnishment and Order to Quash Writ of Continuing Garnishment were
electronically filed with the Clerk of the Court using the CM/ECF system, and I hereby
certify that the documents were mailed to the following non-CM/ECF participants:

 Paula Kay Bullock                      Charles Schwab and Co., Inc.
 Register No.: 34142-057                c/o Registered Agent, CT Corporations System
 FCI Coleman                            160 Mine Lane Court, Suite 200
 P.O. Box 1021                          Raleigh, NC 27615-6417
 Coleman, FL 33521-1029

                                              Respectfully submitted,

                                              MATTHEW G.T. MARTIN
                                              United States Attorney

                                              /s/ Joan B. Childs
                                              Assistant United States Attorney
                                              NCSB# 18100
                                              United States Attorney's Office
                                              Middle District of North Carolina
                                              101 S. Edgeworth Street, 4th Floor
                                              Greensboro, NC 27401
                                              Telephone: (336) 333-5351
                                              E-mail: joan.childs@usdoj.gov




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